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CHARLES J. F]§B`RRERA #33‘ E 0

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f»‘\tt<) my for P§ a§ntiff
IN "I"HE UNITED S'I"A'i"l€S DIS"I`RICT COUR'I.`

FOR "E`HE DISTRICT OF" HAWAH

GARY VANNATI`A._ CIV_IL NO. C.V 10-90489 `BMK

(Civi] Nc). lO-`l-1407-06 KKS ofthe First'
Circuit Cc)uri, State of Hawaii)

P§aintiff`_._

vs.
PLAINTIFF’S I\`§OVI`IC}"§ OF DISMISSAI,;
WA{ANAI§ COAST CERTIFICATE OI'~` SI§ZRV£CE
C()ME’REP-IENSIVI£ HZEAL'I`H
CEN"I`ER; AUDR[;`Y 'I`ALEFF, APRN-
RX; `¥EFP`RI'£Y CHENG'._ M.D.; MARC E.
PA,`I`R.ICK_ PA;_ .¥()S.E.PH VI“URBAN.
M.I).; DAVID R. .!ONI"§S, M.D.;
R()BERT }3()!\1!{!‘,\1\./[g M.I).; and DOHS
§-100.

Defendants.

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Case 1:10-cv-OO489-BI\/|K-NONE Document 7 Filed 09/17/10 Page 2 of 4 Page|D #: 73

NOTICE ()F DISMISSAL
Pfaimiff, through his undersigned counsel, hereby dismisses this ciaim, “]"his
dismissak is made pursuant 10 Federal Rul@s ofC-ivil Procedure, Rule 41(21)(1`)(!-\).

ff;§f § z *s
DATED: HOnOlulu,l'-Iawaii., W'"”§ ‘§' § Zm@

 

 

 
 

CHW J.”Fl§aRRr:RA

Attomey fo Pla§ntifi`

 

Case 1:10-cv-OO489-BI\/|K-NONE Document 7 Filed 09/17/10 Page 3 of 4 Page|D #: 74

IN T.I'i}§ l,?`NI'l`J§`D S”l`ATES DISTRIC'I` C()UR'[`

F()R "I`HE DLSTRECT OF HAWA]I'

GARY VANNA'I`VI`A, CIVIE.. NO. CV 10~90489 BE.\/§K

(Civil NO. 10»1»1407-()6 KKS o'i`the First
C'ircuit Court, State Of Hawaii)

Plaintéff,

vS.
CERT§FICATE O.F SI_:`RVICH
WAIANAE C'OAST
C.OM}).RI§H}§§NSIVE I'{EAL'¥"H
CEN'I`ER; AUDR_EY rYj\l§l¥:]§"[*`, APRN-
RX; JHFFREY CHINC}, M.D.; MARC }F,.
PATRlC-K., PA; JOSEPI'I TI,IRBAN,
M.D.; DAVID R.. }ONES, N_[.D.;
ROB'ER'I` BONI»IAM_, M.D.; and D()ES
l-E ()Ot

Defendants.

\»/\“/\“/V\_/\_/‘-_./'~._/\_/\_/`~_/\_/'~_./\_/\_/\_,/\_,/W

 

(_22767`)
CERTIFICA'E`E O}'*` SERVICE
l hereby eeri§fy that a epr of the within document Wifl §")e duly Served en the

foilowing by U`.S. mail and!or hand-cielivery:

 

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FLORHNCE NA.KAKUNE., }:ISQ.
THOMAS }--JI':I-I.-PER, ESQ.

Ot`f`tce t)f"the U.S. Attt)rney

PJKK l*`ederal Buildihg

309 Ala Mc)zma Boulevard, Suite 6100
Honolulu, HI 9685()

Att()meys for Defendants
WAIANAE C()AS”I` COMPR};§HZ§N S`IV`E I'H:EAL”I`}'I CFlE\I'I"I§R; AUDREY
FI`/"\LI.'£}‘"I'*"_ APRN~RX; JEFFREY CHING, M.D.; MARC E. PATRICK. PA;
.¥OSEPH F[`URBAN_ M.D.; DAVID R. JONES_ M.D.; and R()BI;§R'I` B()NHAM,
M.D.

SEP § §§ Z§‘§§

DATE{): Hon<)lulu, Hawaii f

 

 

 

 

